          Case 1:14-cv-00648-TCB Document 22-1 Filed 07/10/14 Page 1 of 1 PageID# 174
                                                                              BtCtl"r0
                                                                                                                       MAILROOM




                                    Jiv/rie, 3)*9uc& Sc sf/Znu/J, ^Mft                                           JUL \ 0 2014
                                                                   VJIftft/J tf /_/;
                                              (JeuriJf&fJ rtne/•?//&               t l/C
                                                                                                         •LEAK U.S. DISTRICT COURT
                                                                                                             ALEXANDRIA. VIRGINIA
   JONATHAN E. LEVINE                                    Heritage Square                          iflT
ADMITTED IN VA. MD. H. AND DC                            53ii Lee Highway                          ttttw.li^iiii'ii.inii'K.ciuii
     BLAKE 1. DANIELS                               Arlington. Virginia 22207                     Jon.ith.in \\. 1.evine c-nuil:
   ADMITTED IN VA AND DC
                                                                                                    ioti.ith.in.lL-vincf.iU-vincil.um-U.atni
   NICOLE S. AI.I.Nl'TT                                                                           Bhke I.. Daniels c-nuil:
   ADMITTED IN VA AND DC                             telephone (703) 525-2668
                                                                                                    l>l.»ke.il.imeU<»lcv 1ncil.1r1icK.com
                                                        FACSIMIIF .703) 525-839.3                 Nicole S. Allnutt c-nui1:
 ADRIENNF. M. LAWRENCE
       ADMITTED IN VA                                                                               mcolc..iIInuli< vlcvincil.inicK.com

 NICOLE WINTERS-BROWN                                                                             AdricnncM. Lnvrencc c-nuil:
       ADMITTED IN V\                                                                               .nlncn tic. I.iwrenccnlcvincil.inicK.com

                                                                                                  Nicole Winters-Brown e-m.iil:
                                                                                                    nicolc.«imcr\-hrou nr.ilcvmcd.inicK.coi

                                                                                    July 7,2014

        VIA FIRST CLASS MAIL


        Fernando Galindo, Clerk of the Court
        United States District Court for the Eastern District of Virginia
        Albert V. Bryan U.S. Courthouse
        401 Courthouse Square, 5,h Floor
        Alexandria, Virginia 22314

                           Re: Jodi C. Mahdavi v. NextGear Capital, Inc. et al./ Eastern District of Virginia
                                Case No. 14-cv-0648


        Dear Mr. Galindo,

               With regard to the above-referenced matter, enclosed you will find an original, executed
        Affidavit of Proof of Service of the summons and complaint for P.A.R. Services, Inc., a
        Defendant in the instant matter. Please file the Proof of Service.

                   Should you have any questions, please call me at my office number listed above.

                                                                                    Sincerely,




                                                                                    Nicole Winters-Brown

        Enclosure
